      Case 3:17-cv-02102-N Document 1 Filed 08/09/17              Page 1 of 5 PageID 1



                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 GABRIELA A. MAGNUSSEN                          §
                                                §
 v.                                             §
                                                §   Civil Cause No.3:17-cv-02102
 MARLENE SCOTT BELCHER, and                     §
 SCHNEIDER NATIONAL CARRIERS,                   §
 INC.                                           §

                                  NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, MARLENE SCOTT BELCHER, and SCHNEIDER NATIONAL

CARRIERS, INC., Defendants in the above-referenced matter, and files this its Notice of

Removal under 28 U.S.C. § 1332(a).

                                            I.
                                      INTRODUCTION

       1.       Plaintiff GABRIELA A. MAGNUSSEN is an individual citizen and resident of

the State of Texas.

       2.       Defendant SCHNEIDER NATIONAL CARRIERS, INC., is a foreign corporation

duly registered and incorporated and maintaining its principal place of business within the state

of Wisconsin.

       3.       Defendant MARLENE SCOTT BELCHER is an individual citizen and resident of

the State of Tennessee.
     Case 3:17-cv-02102-N Document 1 Filed 08/09/17                Page 2 of 5 PageID 2



       5.       Defendant MARLENE SCOTT BELCHER was served with suit on July 24,

2017. Defendant SCHNEIDER NATIONAL CARRIERS, INC., was served with suit on or

about July 21, 2017. Defendants, therefore, have filed this Notice of Removal within the thirty-

day time period required by 28 U.S.C. § 1446.

       6.       Plaintiff has sued Defendant MARLENE SCOTT BELCHER asserting

negligence and Defendant SCHNEIDER NATIONAL CARRIERS, INC., asserting that the

alleged negligence on the part of Defendant MARLENE SCOTT BELCHER can be imputed to

SCHNEIDER NATIONAL CARRIERS, INC., on the doctrine of respondeat superior in the

192nd Judicial District Court of Dallas County, Texas, Cause No. DC-17-07579.

                                           II.
                                   BASIS FOR REMOVAL

       7.       Removal is proper under 28 U.S.C. § 1332(a) because Plaintiff’s suit is a civil

action in which this Court has original jurisdiction over the parties, based upon diversity

jurisdiction under 28 U.S.C. § 1332. This action is one which is removable to this Court

pursuant to the provisions of 28 U.S.C. §1441(b) because Plaintiff is a citizen of the State of

Texas, Defendants MARLENE SCOTT BELCHER is a citizen of Tennessee, and SCHNEIDER

NATIONAL CARRIERS, INC., is a Wisconsin corporation with its principal place of business

in Wisconsin.

       8.       The Defendants are now, and were at the time the removed action was

commenced, diverse in citizenship from the Plaintiff. 28 U.S.C. § 1332. Accordingly, because

the notice of removal was filed within thirty days (30) after the receipt of a copy of the initial

pleading setting forth the claim for relief this removal is proper and timely under 28 U.S.C.

§1446(b).
     Case 3:17-cv-02102-N Document 1 Filed 08/09/17                  Page 3 of 5 PageID 3



       9.      The amount in controversy in this action exceeds, exclusive of interest and costs,

the sum of Seventy-Five Thousand and No/100 Dollars ($75,000.00).               Plaintiff’s Original

Petition, attached to this Notice, alleges that Plaintiff intends to show that her damages exceed

$100,000. See Plaintiffs’ Original Petition, page 1.

       10.     All pleadings, process, orders, and all other filings in the State Court action are

attached to the Notice of Removal as required by 28 U.S.C. § 1446(a) and are resubmitted

herewith.

       11.     The United States District Court for the Northern District of Texas, Dallas

Division, embraces Dallas County, Texas, the place where the State Court Action was filed and

is pending. This statement is not meant as a waiver of any argument that venue is proper in the

location in which the State Court Action was filed, but merely demonstrates the propriety of

removing the action to this federal judicial district.

       12.     Defendants filed a copy of the Notice of Removal with the Clerk of the State

Court in which the action had been pending.

       13.     Defendants hereby demand a trial by jury in accordance with the provisions of

FED. R. CIV. P. 38.

       WHEREFORE, Defendants, as a party in diversity with the Plaintiff, respectfully request

that this action be immediately and entirely removed upon filing this Notice of Removal to the

United States District Court for the Northern District of Texas, Dallas Division, and for such

other and further relief to which they may show itself to be justly entitled.
Case 3:17-cv-02102-N Document 1 Filed 08/09/17        Page 4 of 5 PageID 4



                               Respectfully Submitted,

                               FEE, SMITH, SHARP & VITULLO, L.L.P.

                               /s/ Michael P. Sharp

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                               ATTORNEYS FOR DEFENDANTS
     Case 3:17-cv-02102-N Document 1 Filed 08/09/17                Page 5 of 5 PageID 5



                               CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of August, 2017, I electronically transmitted the
attached document to the Clerk of the Court using the ECF System for filing. Based on the
electronic records currently on file, the Clerk of the Court will transmit a Notice of Electronic
Filing to the following ECF registrants:

       Gina Giblin
       Law Office of Domingo Garcia, P.C.
       400 S. Zang Blvd.
       6th Floor, Suite 600
       Dallas, TX 75208
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                                            /s/ Michael P. Sharp

MICHAEL P. SHARP
